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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 1:25-cv-23182


      C.M., et al.,

                                   Plaintiffs,

              v.

      Kristi Noem, Secretary of the United States Department
      of Homeland Security, in her official capacity, et al.,

                                   Defendants.


       PLAINTIFFS’ EXPEDITED MOTION FOR TEMPORARY RESTRAINING ORDER
                         AND PRELIMINARY INJUNCTION
            Plaintiffs C.M., Borrego, J.M.C., and E.R., by and through undersigned counsel and

  pursuant to Federal Rule of Civil Procedure 65(a) and (b), and S.D. Fla. L.R. 7.1(d), respectfully

  file this motion for expedited relief 1 seeking entry of a temporary restraining order (“TRO”) by

  July 21, 2025, and preliminary injunction during the pendency of this action seeking declaratory

  and injunctive relief to ensure access to counsel and the ability to file petitions and documents with

  the Immigration Court, as required under the First and Fifth Amendments of the U.S. Constitution,

  to people held in the immigration detention center known as “Alligator Alcatraz.” 2


  1
    Expedited relief is required under Southern District of Florida L.R. 7.1(d)(2) because, as set forth
  herein, Plaintiffs are currently barred in the entirety from speaking with counsel, or filing any
  documents with the immigration court to move for release from detention, which may irreparably
  prejudice Plaintiffs and proposed class members. Notice of this motion has been provided by
  electronic mail to the United States Attorneys’ Office for the Southern District of Florida, and the
  Florida Attorney General’s Office.
  2
    See Ana Ceballos, Alligator Alcatraz Is No Nickname. It’s Detention Camp’s Official Name,
  Tampa Bay Times (Jul. 1, 2025), https://www.tampabay.com/news/florida/2025/07/01/alligator-
  alcatraz-is-no-nickname-its-detention-camps-official-name; Raisa Habersham, As the Jokes Fly,
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                                            INTRODUCTION
          Less than four weeks ago, the state of Florida began to construct a temporary immigration

  detention facility made of tents, trailers, chain-link fence, and barbed wire in the middle of the

  Florida Everglades, approximately 50 miles from Miami. Now known as “Alligator Alcatraz,” the

  facility has the capacity to hold at least 3,000 people and is directly surrounded by wetland swamp,

  home to wildlife, including alligators and venomous snakes. 3 President Trump has celebrated the

  location of this facility, noting that, “[W]e’re going to teach them how to run away from an

  alligator if they escape prison . . . . The only way out, really, is deportation.” 4

          Defendants currently hold approximately 700 immigrant detainees at the facility,5 and have

  barred detained immigrants from communicating confidentially with legal counsel. No protocols

  exist at this facility for providing the standard means of confidential attorney-client

  communication, such as in-person attorney visitation and phone or video calls that are available at

  any other detention facility, jail, or prison. The only way that detainees can communicate with the

  outside world is via infrequent access to collect pay phone calls that are monitored and recorded,

  and last approximately five minutes.




  Alligator Alcatraz Evokes Racist Trope of ‘Gator Bait’, Miami Herald (Jul. 10, 2025),
  https://www.miamiherald.com/news/state/florida/article310224360.html (discussing historical
  “gator bait” trope used to dehumanize Black people and its application in naming of the facility).
  3
     Chelsea Bailey, Isabel Rosales & Alaa Elassar, ‘Alligator Alcatraz’: What to Know About
  Florida’s New Controversial Migrant Detention Facility, CNN (Jul. 13, 2025),
  https://www.cnn.com/2025/07/01/us/what-is-alligator-alcatraz-florida.
  4
    https://apnews.com/article/trump-everglades-immigrant-detention-facility-visit-
  5dc5568ec15534947c29c9149b773d1d Adriana Gomez Licon & Will Weissert, Trump Tours
  Florida Immigration Lockup and Jokes about Escapees Having to Run from Alligators, Associated
  Press (Jul. 1, 2025), https://apnews.com/article/trump-everglades-immigrant-detention-facility-
  visit-5dc5568ec15534947c29c9149b773d1d.
  5
     Ana Ceballos et al., Exclusive: Hundreds at Alligator Alcatraz Have No Criminal Charges,
  Miami          Herald        Learns,      Miami       Herald         (Jul.        13,      2025),
  https://www.miamiherald.com/news/local/immigration/article310541810.html.
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         The individual Plaintiffs in this case, C.M., Borrego, J.M.C., and E.R., (collectively

  “Detained Plaintiffs”) are immigrants detained at Alligator Alcatraz, who wish to communicate

  confidentially with legal counsel. They are or may be eligible for release on bond and have pending

  immigration cases for which they need to file documents with the immigration court. Plaintiffs

  Florida Keys Immigration, Law Offices of Catherine Perez PLLC, Sanctuary of the South, and

  U.S. Immigration Law Counsel (collectively “Organizational Plaintiffs”) are legal service

  organizations and law firms that have retained prospective clients detained at the facility with

  whom they have not been able to contact or communicate with in a confidential manner. The

  restrictions on attorney access violate the First Amendment rights of all Plaintiffs and the proposed

  class, and the restrictions on detainees’ ability to file documents with the immigration court violate

  the Detained Plaintiffs’ Fifth Amendment protections for procedural due process.

         Accordingly, the Detained Plaintiffs, on behalf of themselves and the proposed class, and

  the Organizational Plaintiffs respectfully seek a TRO and preliminary injunction requiring

  Defendants to permit attorney-client communication at Alligator Alcatraz.


                                    FACTUAL BACKGROUND
         Immigrants held at Alligator Alcatraz are civil detainees, held pursuant to allegations of

  federal immigration, not criminal law. Detainees held at Alligator Alcatraz have no ability to

  communicate confidentially with legal counsel. The only way that detainees can communicate

  with the outside world is via infrequent access to collect pay phone calls that are monitored and

  recorded, and last approximately five minutes. Decl. Katherine Blankenship ¶ 31; Decl. Saman

  Movassaghi Gonzalez ¶ 23; Decl. Catherine Perez ¶ 19.

         Defendants have failed to issue any publicly available information or protocols regarding

  attorney access at Alligator Alcatraz. Movassaghi Gonzalez Decl. ¶¶ 8, 12; Perez Decl. ¶ 10. As a


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  result, attorneys have fruitlessly attempted to confirm their clients’ detention at the facility and to

  find any confidential way to communicate with them. Blankenship Decl. ¶ 12; Movassaghi

  Gonzalez Decl. ¶¶ 8, 17-18; Perez Decl. ¶¶ 9-14; Decl. Amanda Velazquez ¶¶ 6-7. ICE’s online

  detainee locator has resulted in no information regarding people known to be detained at the

  facility, or it has directed attorneys to agency staff who have no information as to how attorneys

  can communicate with detainees at Alligator Alcatraz. Blankenship Decl. ¶ 12; Decl. Sandra

  Cherfrere ¶ 4; Decl. Phillip Issa ¶ 4; Movassaghi Gonzalez Decl. ¶ 8; Perez Decl. ¶ 9 & Ex. A;

  Velazquez Decl. ¶¶ 6-8. Attorneys have contacted legislators and state agencies to try and find any

  means of establishing contact with their clients, but to no avail. Blankenship Decl. ¶¶ 7, 15 & Ex.

  2. ICE’s Miami Field Office has rebuffed inquiries about contacting detainees at the facility.

  Blankenship Decl. ¶ 14 & Ex. 1; Perez Decl. ¶ 12 & Ex. B. An email address provided by officials

  reported to be used for arranging attorney-client communication at the facility results in bounced-

  back messages. Issa Decl. ¶¶ 12-13; Movassaghi Gonzalez Decl. ¶¶ 13-14, 16-18.

         Attorneys who have driven to the facility to attempt to meet their clients in person have

  been greeted at a military checkpoint and barred from entry. Blankenship Decl. ¶¶ 16-19; Cherfrere

  Decl. ¶¶ 4-6, 15; Decl. Troy Elder, ¶¶ 5-12; Issa Decl. ¶¶ 6-10, 12. Attorneys have waited in their

  cars in the hopes of meeting with their clients, only to be told hours later that they cannot enter the

  facility. Blankenship Decl. ¶¶ 16-19; Movassaghi Gonzalez Decl. ¶ 10. At one point, facility staff

  informed attorneys that a “Legal Counsel Visitation Request Form” available only to attorneys

  who drive to the facility is the only way to request a virtual visit with clients at the facility.

  Blankenship Decl. ¶ 21 & Ex. 3; Cherfrere Decl. ¶ 12. Facility emails resulting from submission

  of this form do not provide specific information about how a call with a client might proceed,

  which client the call may be with, or the planned time for the call. Blankenship Decl. ¶ 25 & Ex.



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  6. Moreover, these promised calls have not taken place, but rather, have been canceled by the

  facility. Id.; Cherfrere Decl. ¶ 16-18. Other attorneys who travel to the facility to meet with

  detainees have been told that they must apply and obtain approval before any future visit, with no

  specific timeline for when approval might be granted. Elder Decl. ¶ 10.

            There is no way for detainees and their counsel to confidentially exchange legal documents.

  The Legal Counsel Visitation Request Form also requires attorneys to submit copies of any

  documents planned for review with the client for approval by the facility. Blankenship Decl. Ex.

  3.

                                         LEGAL STANDARD
            The Court should grant a preliminary injunction if Plaintiffs establish: (1) “a substantial

  likelihood of success on the merits,” (2) “that the preliminary injunction is necessary to prevent

  irreparable injury,” (3) “that the threatened injury outweighs the harm the preliminary injunction

  would cause the other litigant[s],” and (4) “that the preliminary injunction would not be averse to

  the public interest.” Chavez v. Fla. SP Warden, 742 F.3d 1267, 1271 (11th Cir. 2014). The same

  test applies to a motion for a temporary restraining order. Schiavo ex rel. Schindler v. Schiavo, 403

  F.3d 1223, 1225-26 (11th Cir. 2005).

                                              ARGUMENT
       I.      Plaintiffs Are Likely to Succeed on the Merits.

               A. Defendants’ Denial of Access to Counsel Violates Detainee Plaintiffs’
                  Constitutional Rights.

                   1. The Defendants’ Denial of Access to Counsel Violates Detainee Plaintiffs’
                      First Amendment Rights.

            Defendants Noem, Department of Homeland Security (“DHS”), Lyon, Immigration and

  Customs Enforcement (“ICE”), and Ripa (collectively “DHS Defendants”) and Defendants



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  DeSantis, Green, Guthrie, and Florida Division of Emergency Management (“FDEM”)

  (collectively “Florida Defendants”) have imposed significant and unreasonable barriers to attorney

  access to immigrant detainees held at Alligator Alcatraz, in violation of the First Amendment.

  Incarcerated people have a “First Amendment free speech right to communicate with [their]

  attorneys . . . .” Al-Amin v. Smith, 511 F.3d 1317, 1334 (11th Cir. 2008). See also DeLoach v.

  Bevers, 922 F.2d 618, 620 (10th Cir. 1990) (under “clearly established First Amendment rights of

  association and free speech,” prisoners have the right to “retain and consult with an attorney”);

  Lashbrook v. Hyatte, 758 F. App’x 539, 541 (7th Cir. 2019) (“The First Amendment protects a

  prisoner’s right to consult with an attorney . . . .”). A restriction that “interferes with protected

  communications, strips those protected communications of their confidentiality, and accordingly

  impinges upon the inmate’s right to freedom of speech.” Al-Amin, 511 F.3d at 1334 (quoting Jones

  v. Brown, 461 F.3d 353, 359 (3d Cir. 2006)).

         This is not a close case. The DHS and Florida Defendants have imposed attorney access

  restrictions that have fully foreclosed the ability of immigrants detained at the facility to speak to

  counsel in a confidential manner, in clear violation of the First Amendment. The only way for

  detainees to speak with anyone outside the facility is via an infrequent, paid, collect phone call

  system that is monitored and recorded, where calls last for approximately five minutes.

  Blankenship Decl. ¶ 31; Movassaghi Gonzalez Decl. ¶ 23; Perez Decl. ¶ 19. These Defendants

  have failed to confirm whether detainees are held at the facility through their online locator

  websites and have directed attorneys to faulty email addresses or offices that have no information

  on how attorneys can communicate with clients at the facility. Blankenship Decl. ¶¶ 12, 23 & Ex.

  4; Cherfrere Decl. ¶ 4; Issa Decl. ¶ 4; Movassaghi Gonzalez Decl. ¶¶ 8, 17-18; Perez Decl. ¶ 9 &

  Ex. A; Velazquez Decl. ¶¶ 6-8. Defendants have restricted attorney access by failing to establish



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  any policy or mechanism for detainees and counsel to speak with each other in person, over the

  phone, or via video call. Movassaghi Gonzalez Decl. ¶¶ 8, 22; Perez Decl. ¶ 10. Defendants have

  failed to make any information publicly available instructing how attorneys and detainees may

  communicate with each other. Movassaghi Gonzalez Decl. ¶¶ 8, 12; Perez Decl. ¶¶ 10-11.

         Attorneys who have attempted to visit clients in person at the facility are stopped at military

  checkpoints and barred from entry. Blankenship Decl. ¶¶ 16-19; Cherfrere Decl. ¶¶ 4-6, 15; Elder

  Decl. ¶¶ 5-12; Issa Decl. ¶¶ 6-10, 12. Although the facility has developed a “Legal Counsel

  Visitation Request Form,” attorneys who fill out the form are instructed that they cannot visit with

  their clients in person, and that the facility will respond in a “twenty-four to forty-eight hours” to

  set up a legal call. Blankenship Decl. ¶ 21 & Ex. 3; Cherfrere Decl. ¶¶ 11-12. Emails sent to

  attorneys resulting from these requests provide no specific information as to how a call with a

  client might proceed, which client the call might be with, any instructions for connecting to the

  call, or specific times for the call. Blankenship Decl. ¶ 25 & Ex. 6. Even the vague promises made

  for a legal call from this email address have been canceled. Id.; Cherfrere Decl. ¶ 18. The “Legal

  Counsel Visitation Request Form” further requires attorneys “to attach copies of legal documents

  you intend to bring for approval. All items are subject to inspection and must be pre-approved.”

  Blankenship Decl. Ex. 3. These restrictions are flagrant violations of First Amendment protections

  that require detainees to be able to communicate, including in a confidential manner, with counsel.

  Al-Amin, 511 F.3d at 1334.

         The government’s restrictions on attorney-client communication at Alligator Alcatraz

  violates detained immigrants’ First Amendment rights. This denial of attorney access lacks any

  reasonable relation to legitimate governmental interests. Turner v. Safley, 482 U.S. 78, 89-91

  (1987); Pesci v. Budz, 935 F.3d 1159, 1166 (11th Cir. 2019) (modifying Turner standard for civil



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  detainees). The federal government itself requires that immigration detention facilities provide

  detainees with access to counsel. Indeed, DHS Secretary Noem has stated that conditions at

  Alligator Alcatraz are “held to the same standard that all federal facilities are.” 6

          Federal immigration detention standards, of course, require that detainees have access to

  confidential communication with counsel. ICE’s National Detention standards require in-person

  legal visits, Standard 5.5.II.G.3; require private, unmonitored legal calls, Standard 5.4.II.J-K; and

  bar staff from reading written communications to or from legal counsel, Standard 5.1.II.E.2. 7

  Immigration detention is “civil, not criminal,” Zadvydas v. Davis, 533 U.S. 678, 690 (2001), and

  even prisons are required to provide means for confidential attorney-client communication. The

  Federal Bureau of Prisons also provides attorney visits in a “private conference room, if available,”

  requires confidential legal mail, and facilitates at least some unmonitored legal telephone calls. 28

  C.F.R. §§ 540.19(a), 540.103, 543.13(a)-(b) (2025). Florida’s state prison system likewise

  guarantees in-person legal visits in a location that “insure[s] . . . privacy,” unmonitored legal calls,

  and confidential legal mail. Fla. Admin. Code Ann. r. 33-210.102(2)(c)-(e), (8)(d), 33-

  602.205(3)(a), 33-601.711(5) (2025). Because the individual Plaintiffs and the proposed class are

  likely to prevail upon their claim that their First Amendment rights have been violated, and a TRO

  and preliminary injunction should issue.

                  2. Defendants’ Denial of Access to Counsel Violates the First Amendment
                     Rights of Organizational Plaintiffs.




  6
    Mandy Taheri, Five States in Talks for Detention Centers Like ‘Alligator Alcatraz’—Noem,
  Newsweek (Jul. 12, 2025), https://www.newsweek.com/five-states-talks-detention-centers-
  alligator-alcatraz-kristi-noem-2098212.
  7
    Immigr. and Customs Enf’t, National Detention Standards (2025),
  https://www.ice.gov/doclib/detention-standards/2025/nds2025.pdf [https://perma.cc/3P2T-
  F382].
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          The Defendants’ ban on attorney-client communication also violates the First Amendment

  rights of the Organizational Plaintiffs. Organizational Plaintiffs are legal services organizations

  and law firms whose mission is to provide immigration legal services to immigrants, including

  people in detention. Blankenship Decl. ¶ 3; Movassaghi Gonzalez Decl. ¶ 3; Perez Decl. ¶ 2;

  Velazquez Decl. ¶ 2. The Organizational Plaintiffs represent people currently detained at the

  facility. Blankenship Decl. ¶¶ 4, 8; Movassaghi Gonzalez Decl. ¶ 3; Perez Decl. ¶ 3; Velazquez

  Decl. ¶ 4. Plaintiff SOS has prospective clients detained at the facility whose families, on their

  behalf, have requested that SOS represent them in their immigration proceedings, but with whom

  attorneys have not yet been able to meet due to attorney access restrictions at the facility.

  Blankenship Decl. ¶ 32.

          The First Amendment protects a lawyer’s ability to advise people of their legal rights and

  solicit prospective litigants. NAACP v. Button, 371 U.S. 415, 428-29 (1963). For legal service

  organizations, “litigation is not a technique of resolving private differences; it is a form of political

  expression and political association.” In re Primus, 436 U.S. 412, 428 (1978) (quotation marks

  and citation omitted). In Jean v. Nelson, the Eleventh Circuit upheld the “purely legal claim”

  brought under the First Amendment by Plaintiff Haitian Refugee Center to be able to speak with

  potential clients in immigration detention, holding that “if Button and Primus mean anything they

  permit legal counsel to inform individuals of their legal rights when counsel does so as an exercise

  of political speech unaccompanied by expectation of renumeration.” 711 F.2d 1455, 1508-09 (11th

  Cir. 1983), on reh’g, 727 F.2d 957 (11th Cir. 1984), aff’d, 472 U.S. 846 (1985); see also Haitian

  Refugee Ctr. v. Baker, 953 F.2d 1498, 1513 (11th Cir. 1982) (holding that “Button and In re Primus

  recognize a narrow First Amendment right to associate for the purpose of engaging in litigation as

  a form of political expression.”).



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         Policies or actions that unreasonably impede communication between attorneys and

  detained people violate attorneys’ First Amendment rights. See Jean, 711 F.2d at 1508-09; see

  also Procunier v. Martinez, 416 U.S. 396, 408-09 (1974) (holding that both counsel and an

  incarcerated person “derive[] from the First and Fourteenth Amendments a protection against

  unjustified governmental interference with the[ir] intended communication.” (citations omitted));

  Haitian Ctr. Council v. Sale, 823 F. Supp. 1028, 1040 (E.D.N.Y. 1993) (denial of legal advocacy

  group’s access to Haitian detainees at Guantanamo Bay violates the group’s speech and

  associational rights). The First Amendment’s protections extend to all stages of communication

  between attorneys and prisoners, including prior to representation. See, e.g., ACLU Fund of Mich.

  v. Livingston Cnty., 796 F.3d 636, 644-45 (6th Cir. 2015); Immigr. Defs. L. Ctr. v. Mayorkas, No.

  CV 20-9893 JGB (SHKx), 2023 WL 3149243, at *35 (C.D. Cal. Mar. 15, 2023).

         As detailed amply in the declarations, here there is a categorical restriction on attorneys’

  ability to meet with retained and prospective immigrant clients. Organizational Plaintiffs have

  provided significant evidence that they have been unable to meet with their retained and

  prospective clients. See, e.g., Blankenship Decl. ¶¶ 5, 25, 32 & Ex. 6; Movassaghi Gonzalez Decl.

  ¶ 22; Perez Decl. ¶ 24; Velazquez Decl. ¶¶ 5, 12. 8 Due to the lack of any policy or process for

  Organizational Plaintiffs to contact or meet with current or prospective clients incarcerated at

  Alligator Alcatraz, they cannot provide legal counsel or advice to these people, nor can they

  properly represent them in immigration proceedings. Id.

         The DHS and Florida Defendants, who are government officials, are unreasonably

  interfering with Organizational Plaintiffs’ First Amendment rights, and can offer no explanation




  8
   Other Florida immigration attorneys report similar repeated denials of access to their clients at
  Alligator Alcatraz. Cherfrere Decl. ¶ 20; Elder Decl. ¶¶ 13-14; Issa Decl. ¶ 14.
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  as to how their complete abridgment of the right to counsel is “reasonably related to legitimate

  penological interests” so as to justify overriding the First Amendment rights of the Organizational

  Plaintiffs. Turner, 482 U.S. at 89-91; see also Pesci, 935 F.3d at 1166 (modifying Turner standard

  for civil detainees).

            Accordingly, Organizational Plaintiffs are likely to prevail upon their claim that their First

  Amendment rights have been violated, and a TRO and preliminary injunction should issue.

      II.      The Government’s Denial of Access to Counsel at Alligator Alcatraz Causes
               Plaintiffs Irreparable Harm.

            The restrictions Defendants have placed on the Plaintiffs and the proposed class have

  caused them irreparable harm.

            Detained Plaintiffs and class members’ inability to speak with counsel has prolonged their

  detention, impacted their removal cases, and prevented them from obtaining relief from dangerous

  conditions. For example, Plaintiff Borrego was unable to obtain medical attention at Alligator

  Alcatraz until his condition progressed to the point where he was severely bleeding, requiring him

  to be rushed to the hospital. Blankenship Decl. ¶ 34 After receiving emergency surgery, he was

  returned to the facility, where staff did not provide him with his post-surgical antibiotics prescribed

  by the hospital. Id. Held in hot, humid conditions without these antibiotics, he now reports pus

  coming out of his operation site. Id. U.S.-ILC’s inability to communicate confidentially with its

  client has prevented it from filing a bond motion. Americans for Immigrant Justice’s inability to

  communicate confidentially has prevented it from taking on prospective clients, potentially

  prolonging this client’s and these prospective clients’ detention. Cherfrere Decl. ¶ 20; Elder Decl.

  ¶¶ 13-14; Issa Decl. ¶ 14. Leaving class members in prolonged detention at a dangerous facility

  where they are unable to contact counsel to communicate medical issues and other urgent problems

  places them at serious risk of prolonged detention, injury, and death—all of which are irreparable.


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  Fla. Immigrant Coal. v. Uthmeier, No. 25-21524-CV, 2025 WL 1423357, at *12 (S.D. Fla. Apr.

  29, 2025) (finding the risk of unlawful “detention” supported irreparable harm); Rosemarie M. v.

  Morton, 671 F. Supp. 2d 1311, 1313 (M.D. Fla. 2009) (finding delaying surgery to address

  persistent bleeding supported irreparable harm). For similar reasons, multiple other courts have

  found unreasonable restrictions on access to counsel in ICE detention to constitute irreparable

  harm. See, e.g., S. Poverty L. Ctr. v. U.S. Dep’t of Homeland Sec., Civil Action No. CV 18-760

  (CKK), 2020 WL 3265533, at *32 (D.D.C. June 17, 2020); Torres v. U.S. Dep’t of Homeland Sec.,

  Case No. EDCV 18-2604 JGB (SHKx), 2020 WL 3124216, at *8 (C.D. Cal. Apr. 11, 2020).

         The Organizational Plaintiffs have also suffered irreparable harm. As detailed above,

  Defendants’ policies place the Organizational Plaintiffs’ clients at risk of irreparable harm, which

  suffices for their own harm. Robinson v. Marshall, 454 F. Supp. 3d 1188, 1205 (M.D. Ala. 2020)

  (finding an “increase in medical risk” to plaintiff medical providers’ patients to show irreparable

  harm), aff’d sub nom., Robinson v. Att’y Gen,, 957 F.3d 1171 (11th Cir. 2020); S. Poverty L. Ctr.,

  2020 WL 3265533, at *32 (finding irreparable harm because “delays and substantially restricted

  access to counsel[]” in ICE detention centers caused a plaintiff legal organization’s clients

  “irreparable injuries related to the proceedings for which Plaintiff's clients are preparing”).

  Additionally, these restrictions impair the Organizational Plaintiffs’ ability to speak with

  prospective and current clients and to effectively represent them, placing a burden on the

  Organizational Plaintiffs’ ability to initiate and maintain client relationships. Blankenship Decl. ¶¶

  5, 7, 32; Movassaghi Gonzalez Decl. ¶ 4; Perez Decl. ¶ 24; Velazquez Decl. ¶ 5; BellSouth

  Telecomms., Inc. v. MCIMetro Access Transmission Servs., LLC, 425 F.3d 964, 970 (11th Cir.

  2005) (“[T]he loss of customers and goodwill is an irreparable injury.” (quotation marks and

  citation omitted)).



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     III.      The Balance of Equities and the Public Interest Weigh Heavily in Plaintiffs’
               Favor.

            The balance of equities tips in Plaintiffs’ favor, and an injunction is in the public interest.

  In contrast to the real and severe harms the class faces, Defendants have no legitimate interest in

  restricting attorney access at Alligator Alcatraz. This is evident because DHS Defendants are

  readily able to provide attorney access at other ICE detention facilities and Florida Defendants are

  readily able to provide it in their prison system. ICE, Performance Based National Detention

  Standards 2011, 360, 389-91, 398-401 (Rev. 2016), https://www.ice.gov/doclib/detention-

  standards/2011/pbnds2011r2016.pdf [https://perma.cc/GE73-8PRM] (providing confidential

  visits, telephone calls, and mail at ICE detention centers); Fla. Admin. Code Ann. r. 33-

  210.102(2)(c)-(e), (8)(d), 33-602.205(3)(a), 33-601.711(5) (providing private attorney visits,

  unmonitored legal calls, and confidential legal mail in Florida state prisons). The burden on a

  governmental agency is minimal when an injunction imposes attorney access requirements that

  are “no more than what is required by” the agency’s own regulations. S. Poverty L. Ctr., 2020 WL

  3265533, at *33.

            For these reasons, the “public interest does not support [Defendants’] expenditure of time,

  money, and effort in” holding the class under attorney-access restrictions likely to be found

  unconstitutional. Fla. Businessmen for Free Enterprise v. City of Hollywood, 648 F.2d 956, 959

  (11th Cir. 1981); see also Hispanic Interest Coalition of Ala. v. Governor of Ala., 691 F.3d 1236,

  1249 (11th Cir. 2012) (holding that the equities favored an injunction against a state law, where

  the state of “Alabama [had] no interest in enforcing a state law that [was] unconstitutional, and the

  interference with the educational rights of undocumented children [was] not a harm that [could]

  be compensated by monetary damages”).




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      IV.      The Court Should Not Require Plaintiffs to Provide Security Prior to the
               Temporary Restraining Order.
            Federal Rule of Civil Procedure 65(c) provides that “[t]he court may issue a preliminary

  injunction or a temporary restraining order only if the movant gives security in an amount that the

  court considers proper to pay the costs and damage sustained by any party found to have been

  wrongfully enjoined or restrained.” Decisions regarding the security required to be posted in

  connection with the issuance of preliminary relief “are entrusted to the discretion of the district

  court,” including the discretion to “elect to require no security at all.” Transcon. Gas Pipe Line

  Co., LLC v. 6.04 Acres, 910 F.3d 1130, 1171 (11th Cir. 2018) (quoting Corrigan Dispatch Co. v.

  Casa Guzman, S. A., 569 F.2d 300, 303 (5th Cir. 1978)). District courts exercise this discretion to

  require no security in cases brought by indigent, detained, and/or incarcerated people, those

  seeking to exercise their constitutional rights, and in cases that benefit the public interest. See, e.g.

  Campos v. I.N.S., 70 F. Supp. 2d 1296, 1310 (S.D. Fla. 1998); Cruz v. Dudek, No. 10-23048-CIV,

  2010 WL 4284955, at *16 (S.D. Fla. Oct. 12, 2010), report and recommendation adopted sub nom.

  Cruz v. Arnold, No. 10-23048-CIV, 2010 WL 11601831 (S.D. Fla. Nov. 24, 2010); Complete

  Angler, LLC v. City of Clearwater, Fla., 607 F. Supp. 2d 1326 (M.D. Fla. 2009); Wright & Miller,

  Fed. Practice & Proc. § 2954. This court should do so here.

                                             CONCLUSION
            For the aforementioned reasons, Plaintiffs’ motion should be granted.


  Dated: July 16, 2025                                    Respectfully Submitted,

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